               Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 1 of 19




                            •IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF OKLAHOMA


      ^(jffhrJ Wilr-nn
     (Enter the full name of the plaintiff.)

                                               CIV           1.7      - 1 f! r n
  V.                                                         Case No.                                H     E
                                                             (Court Clerk will insert case number)

  (1) O

  (2) i)<pf}n                      ^
  (3) F-l). UjJnr                                  .                          FILED
                                                                                SEP 15 2017
 (Enter the full name of each defendant. Attach
 additional sheets as necessary.)                                     • CARMELITA REEDER SHINN, CLERK '
                                                                      U.S. DIST. CQWRT^STERN DIST. OKU.
                                                                      BY        VSrn             .DEPUTY

                        PRO SE PRISONER CIVIL RIGHTS COMPLAINT

                                               Initial Instructions

 L      You must type or legibly handwrite the Complaint, and you'must answer all
 questions concisely and in the proper space. Where more space is needed to answer any
 question, you may attach a separate sheet. _

2.         You must provide a Ml name for each defendant and describe where that
defendant resides or can be located.


3.         You must send the original complaint and one copy to the Clerk of the District
Court,

4.         You must pay an initial fee of $400 (including a $350 filing fee and a $50
administrative fee). The complaint will not be considered filed until the Clerk receives
-the $400 fee or you are granted permission to proceed informa pauperis.

 5. . If you cannot prepay the $400 fee, you may request permission to proceed in
forma pauperis in accordance with the procedures set forth in the Court's form
application to proceed informa pauperis. See 28 U.S.C. § 1915; Local Civil Rule 3.3. •


Rev. 10/20/2015
             Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 2 of 19




             •    If the court grants your request, the $50 administrative fee "will not be
                  assessedand your total filing fee will be $350.

             •    You will be required to make an initial partial payment, which the court
                  will calculate, and then prison officials will deduct the remaining balance
                  from your prison accounts over time.

             •    These deductions will be made until the entire $350 fiHTig; fee is paid,
                  regardless of how the court decides your case.

  7.     The Court will review your complaint before deciding whether to authorize
  service of process on the defendants. xSfee 28 U.S.C. §§ 1915(eX2), 1915A; 42 U.S.C. §
  1997e(c)(l). If the Court grants such permission, the Clerk wiU send you the necessary
  instructions and forms.

  8.      If you have been granted permission to proceed in forma pauperis, the United
  States Marshals Service will be authorized to serve the defendants based on information
 youprovide. Ifyouhave not been granted permission to proceed informapavperis, you
 will be responsible for service of a separate summons and copy of Ihe complaint on each
 defendant in accordance with Rule 4 ofthe Federal Rules of Civil Procedure.




                                         COMPLAINT

 I.      Jurisdiction is asserted pursuant to:
         •         U.S.C. § 1983 and 28 U.S.C. § 1343(a)(3) (NOTE: these provisions
         generally apply to state prisoners), or
             Bi^ens v. Six Unknown NamedAgents ofFed. Bureau ofNarcotics, 403 U.S.
         388 (1971), and 28 U.S.C. § 1331 (NOTE: these provisions generally apply to
         federal prisoners)

         If you want to assert jurisdiction under different or additional statutes, list these
below:




Rev, 10/20/2015

                                               a.
            Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 3 of 19




    n.      state whether you are a;
                  Convicted and sentenced state prisoner
                  Convicted and sentenced federal prisoner
                  Pretrial detainee

                  Immigration detainee
                  Civilly committed detainee
                  Other (please explain)

  m.       Previoui? Federal Civil Actions or Appeals
          List each civil action or appeal you have brought in a federal court while you were
  incarcerated or detained in any facility.
          1. Prior CivilAction/Appeal No. 1
              a. Parties to previous lawsuit;

                   Plaintif0:s):
                   Defendant(s):_



             b. Court and docket number:

             c. Approximate date of filing:

             d. Issues raised:




            e. Disposition (for example: Did you win? Was the case dismissed? Was
                  summary judgment entered against you? Is the case stillpending? Did you
                  appeal?):



            f. Approximate date of disposition:
       Ifthere is morethan one civil action or appeal, describe the additional civil actions
or appeals using this sameformat on a separate sheet(s).

Rev. 10/20/2015


                                                3.-.
              Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 4 of 19




   IV.        Parties to Current Lawsuit
           State uifonnation about yourself and each person or company listed as a defendant
   in the caption (the^ heading) ofMs complaint.
           1.       Plaintiff

                   Name and any aliases: PuffatJ
                   ctkLihom^ Cp(yAy                       N'
                  . Address:                   nk     -7 7in o^
                   Inmate No,:

          2,       Defendant No. 1


                   Name aiid official position: OkhknM^ ^r?(ynt^ Cn^MiSXi on efi,
                                                                                             CounfJ
                   Offfr^ [^/iUfna^ 3                  IZnlb      T.                  ^ ^/
                   Place ofemploymentand/orresidence:                      Ciiy, nh
                    IMOX
                  How is this person sued? ( ) official capacity, ( ) individual capacity, (J^
                  both                                                                    ^

         3.       Defendant No. 2


                  Name and official position: FnrrA6>t              Jokh Wh
                  ohhhomA Cai/hi-j sh&hU                               at?/ H
                                                  7?/CQ-

                  Place of employment and'or residence:



                  Howis this person sued? ( ) official capacity, ( ) individual capacity, (V?
                  both                                                                     ^
       If there are more than two defendants, describe the additional defendants using
this same format on a separate sheet(s).




Rev. 10/20/2015
Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 5 of 19




       n,?mr ,7nw     ffjcj^J-Bjsfh^^^        • .   /    -
            Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 6 of 19




   •6.      Do not include claims relating, to your criminal conviction or to prison
            disciplinaryproceedings that resulted in loss ofgood time credits.
            •      If a ruling in your favor "would necessarily imply the invalidity" of a
                    cruninal conviction or prison disciplinary punishment affecting the time
                   served, then you cannot make these claims ina civil rights complaint unless
                   you have already had the conviction or prison disciplinary proceeding
                   invalidated, for example through ahabeas proceeding.
                                               Claims


        List tlie federal right(s) that you believe have been violated, and describe what
  happened. Each alleged violation of a federal right should be listed separately as its own
  claim.'


          1.      Claim 1;

                  (1)    List the right that you believe was violated:
           frolnn^ ey-pcnurf fg                                RUrJr /^r,U an
          yiahflon of-                                                                   fty
                   US' Clon                   nr\,


                  (2)   List the defendant(s) to this claim: (If you have sued more than one
                        defendant, specify each person or entity that is a defendant for this
                        particular claim.)
         O/r/3Counf^ C<ny\fiisKif7nerr^




Rev. 10/20/2015
               Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 7 of 19




                        (3)      List thesupporting facts:


               Scr Coni~ini/^fion                                                   H



                    (4)         Relief requested: (State briefly exactly what you want the court to
                                do for you.)
          Oyrv^pe-ns^rj—^/?n/ Ihnlf\V(^           in ^/)
          PM'n                        J^.ll£?LL.e'^pet\s^s r^hfina -h-,
           tnf me'l'f, iny(/0cfivc                              r'mp^a^no.^J crJ^^fr-
                                  ^ hfoli^A-Harnejr fr^J Co'Si- af
                                   ^   l^^^lTWtL I                A-4X^t~Ai^            ^

                                .               Ci^c/fi: A&^ms ptoper.
          2.       Claim II:

                   (1)         List theright that you believe was violated:
          )7fy>r/                                        —(colJ <:Lv.ifr<- nnl^
         5/ldj^k7l7^ if\ \/iohfion—ct/" f^-fh ^nJ
         Amf^menis to ihp fl.S- r^n^ifi^lnn.

                  (2)         Listthe defendant(s) to this claim: (Ifyouhave sued more than one
                              defendant, specify each person or entity that is a defendant for this
                              particular claim.)
         Ohhho/y):) <ry(//iiy C^mto^isfifynerc^




Rev. 10/20/2015

                                                     7
            Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 8 of 19




                   (3)    Listthe supporting facts:


                        Cfinfwufifion                             P^r^at^A jl


                  (4)    Relief requested: (State briefly exactly what you want the court to
                         do for you.)
          Cn>/>ipfnrdnfy ^r)J R/mfiue                             ,n an                fa
                                         frh^ (?F.iAis maiter^ injunc-tix/fi-
          [Chef^                        arfif'rT T/?0'^ Campe//i/w,
                                          P           :9/>y fT/fh^r
                                          proper.

         If there are more than two claims that you wish to assert, describe the additional
  claims using this same format ona separate sheet(s).


 VI.     Declarations

         I declare under penalty ofpeguiy thatthe foregoing istrue and correct.



                                                                              V i.a/7
 Plaintiff's signature                                    Date'                  7



       I further declare under penalty of pegury that I placed this complaint in the
prison's legal mail system, with the correct postage attached, on the        day of
                  20^.                                                        '

              c7 -                                                          V Cio/'p.
            Signature
              gnature                                    Date
                                                         Dfltp/              /

Rev. 10/20/2015

                                              2-
1


             Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 9 of 19


        Cont'iDf/fJ                       J
                                                  7
                             of C^S(°
        I-       TA;r bu/sc/rf' /t iirafjakf iv seek reJresT -f^r
        jnjf/f^ DeirnJ^nfy ijjillfall^ inflK^&J (/pnn fhe Plsi/^ff-
        ^nJ :?l/ ^irmj-Dr/-^ sif/za'kir/ /nm'^S i./i-ik a sper'tfiir
              "/2? 'pun/sh inmafrs lesolfir)^ ftr/m -fh^
        V(°f^nJar\fT rol/nt/^ inJiff^re-nr/^ To /nim^'te'S' o. s.
        ConSfiflonal ri^liis         r:ii/^ihc, H^re inmaie^ fn rurh^'th
                                     in ike farm r>-f js/iK/sira / S'aV f^erttai psin
        Suffer!nq , J/f <rcp/ynf(r?n'             saJ            ir\T^M\nr)Ol
                J        '                    /   .               n   n> n " I I n   ! i-^n   <^
        p/nrdioh^/ Jnifi^sx                                 ^naUSfi) •
        P-.    fn e:Jrk /.rcf/e                              Ja/iff j^rt^^kr^J
        (^1^1la^f/nhK p/u/ u/^r                                  i / i J f i Pjo/zififf
        C2i/sinq ffif> Jf-f?ri\/pfhri /of rfqhiy                                       ^
        i)t)J jrrfpar^lJp mjurj to ff)e Pjair&iff ani at/ J•/^)//^/-iv'
        jlijpf(rj inmffh=s^ whrh lA/ill kc kill^ jf-f -fafik hemn.
                 T/)^ Def<^hhnfs purjoeJ 3 coursr d mrJari'
        jrOouyinj 'fkfi'/r rr>J)Ji/rj' rffS'h'J ^ coksf^/i'tij1 risk nf
        sijnificijnf h^rrf) ^ i)nJ J                fk^-h nrir risi/Jihj
              o;^m h!^ in^uru fa ihp P/^^inhfi" anJ 3// <;'m]brl^
        SifupfeJ inhr\i>frSi erftiHina fhem frv 3r\ QiA/.3rJ r/f
        pf/n/f/{/r                    u/kick iA/ill he set faffk h^C^irt,
                    1 Suoootfma F^c'k
        /           Jnx\r nbch /InU- Pl;}//)iiff incorpryi-ky
                     '       ' *      ^


        r^'krence paMar^phs 1 fkmi/qi 3                                  g)^nvp-
                             '
    *
        ^        TAp            Couhf^ Hrfehiion C^nfrr If^I^iu
                                                         /  •/-s. 1(


        \/^nf}l^i/(7t} Xy/sp'Mj jndf/Jinn
                                 i
                                                  c^th ^nJ SkntA/er
                                                        %
«

                 Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 10 of 19


                       Rrr infe^sfeJ m/Hh Ja^in                         tl^lJ 't/halJ)'^ u/k/ck
    ,

        r;?// r/^r ^f*riof/^                         prnLle='/riS ^s.5ryrjofe4 u^iik                        /
        lnr>n^/t/y)r/if'
           j          /
                              l)f<r^inq    Pti^Llen)'^-f
                                     ' J . 1                            y
                                                                                ftO                   r>rc7j:ins*
                                                                                                         J      !
        :> rj "^nmeiimrr Af^^h .
        5-             r/)p mycnfo)Lin'\ •fre7m ili(=> rriolJ ran he InfrfdheJ-
        in        jnnrfte^^ or Clksof-hfJ fhroi/eik a prrSonT shin or
                       u/hrh uyjH f=>i/r/nfMl/j finJ tlx \A/^y Info "fhi^
        pr^tTon'T UooJ' Th)\ le-oJs io h^sft rl:)m^cie x^nJ
        {          '              /        • '   '                                    ^   ^
        pfnjile'/yiS uy'lfh hiaorr clnil                       ^
        A.                   Phijii/'ff Uhe ^//                                   siilj:^teJ
        ;o/r)^/^r /?;3r        ^M^rn1h)(}n'S Sipce
        i'h<ffr         -3/ir/ l>on/nr^ C^I/^/iOy io
            T///y^A \/^ffaf/S effer-'fr' ryf- me-rifol //m      ^                                                   '
            ..     ,j I
                       ph7kl/=>/r)X'/ V il7 ini^rnp/ otq^n^ / ^ ^aJ
        Hf=pjh fr) nll^/^rr-
        7      lkf>        Inp-f /><-=<?/? ir,fesieJ \A/iik MnU -for
                  Lj- jJ nnf QoO-up n\/i°rniqkf. I-f n/of 'fh/'^^r!^
        Aurinoi Whf              /'s u/^iich •
        9).    Dun HQ            Qll times re/pva/if' in ihe AloU \A/i)^iXel
                                                                ,                             /


        iA^as ihc
              *
                  po/frJ
                  /   /                '
                                                      He hoJ an toUiaofion
                                                                   J  t
                                                                                                      io
        ma/ni-oit)         ihe        ,l^il fn^ of PlaU.                He- kr^ache'J
        nUfctafiorw ;)rJ ijj;^<: JpllLc-r^f^O ioJifH^rerrt io
        PUiniiff anJ j// <:m'ilarl^ <:it^amJ 'mmatfs srU willfulU
        j-ailfJ to Msmfam f/tc J^i/ frer- of moU causing
            hrep^ir^hle inji/y fo Pla/niiff pnJ alt J^i/nfhrL^
        xifi/:)f^ inmafer^ as- Jfse-nheJ in fci^oaraf/i^ 1 QnJ ^
             t                                                      '       ^         f           I

        ahnvr

                                                       10.
     Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 11 of 19



                    Okfaham^ Coi/nf.j coM^issionehr In^s
p raAfinf/it\j o/yl!j:}f'io/) in sunervisr ii)>=' operation
of -M<° J^//^ pnJ 'hk=' corrn-flvi^                                  u/lienc\/rr
rtnrf=-ss^t-,/.
            ) i
                u/jiich
                  f   f
                        inrL^i^
                        f r tU
                                f={/;)lu^finq
                                  VI'       y
                                              m^ir)f<rn;^r\cf='
[frf?rjr~ In Spitr n-f Wlcfsels r^eliher^fe iMifk'rr'rxr'
fh^ Crjivmis^sioner^ f^c-rcpfeJ mspfrfinn
^nJ pn^infer)                rrcatJ^             fS-
molrl is                  fnnfpij^ 3 nj lAyirlf^ S
rni)Ami\<inr\^rs \nrf-ar/)fj   of^h'Qsfians Qn4 IA/J):r
Aelilirr;)tcQ mJifferent io fhr Phmtiff ;)nJ
{//lllfc/lly r^thj fo /r}Sir)f^in fh-p J<^il
MafJ cpu"cin^ ifti^p^^r^t l?lf=' ir)i)(/ty in                         Plqmf\f¥
^^4        qH                         Je^ycriheJ m par^<inp^ I
QnJ 1       ahai/C"
la.       a J:tpri jnJ              result n-F e^ck of
the DefenJ^nff Jrliloerfiie indifference ftr AescriheJ
       !
           Thp Fla/nftff iinJ ^// %im'ii<^rb s'lftf^ihr/ inmpp^j
                             ^                         '/                          *

              thf Je/m)/^fm/} of ftahfs i/nrler fhe Co/or
of           sHgt           iy}^Jf=' fo ci/ff^r jrrcp^r^hl<° //iji/y
tn          form of Terinf/f p^^^tro/ injur.f ptiif)''
,\is-comfart^ hafh phjrirpJ anJ mr/ifif! '^f/ff^r'^/
                                       §   m                w   Ms




fk>^ mirnfion^I inrlicrtjo/) of                                 flisfrrss'^ ^)rJ
menial pnauisk-




                                    fk
f

           Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 12 of 19




    ConfthiJpJ ftm f^ae 9
    B-          i/^ i^nt W^itrr- Phinii'-ff- inrorpoftdl^s                 rej^p/ve
                                     10 ;)/)oi/r.
    I/-        On /^ay 18^ Tkol^                 Hai uyf)t=>r •/<? •^H
    cells' ^nJ Shni^crs uj:ps fi^rneJ off' Smrf 'thui' fime^
    inimaip<            fvrceJ h hke ccU styiu/rrs^ flnJ usr Cd;t4
    uyytr 7^ />r/yrX if)fir terih                              /r)P/}jr ps/n.
                Thf Opfr/)Jp/if'i {/hhze' fij/" rJf                 i/;}iloJi of'
    haf lAj:i^r ^<yli                            ^rJ t)n rel/ h^kh             toah
    h if^Wrt srLltrsry pomshmenf on Pl^mffff ^nJ i?//
    inma^>          )s         ^17^ ih hem ovrr \00
    4aif uJiihct/f h(^ uMt.
    i^.        Df^fenJ^nij- rec^/vcJ rorf^x^ponJ^ncf^ anJ
    pl^atifT c^iis -Froro infe'teffe^ p&rron.r ^fJh/ytff'im -
    M                                                   m           m




    fo h^i/e fke hoi tjL/4Pr fcmcj-on^ snj Une Ccrll [hints
    'fiX.CcJ. /Moreover 'The Fhihi'i-f-f^ V^r/yglh spa he
    fo J^Qi! ^rrjonnei^ ^nJ f='x)i^(/^'heJ fne
    ciriri/3/ier(=' pr<i>ccJ(yre ::)<Ainq fo                        ihe hoi ujaP^^r
    fr/mfM-on, To                  ;^u-:)\l.
    I'j.        Durlnj 9tl -hiMcs rrlevfinf fn fhe- no hdh
    js'^c/r,/ l)e'ffncl^/&
    '
                            hv/ar u/ar ihe Jdll'r
                     ts , , ,f ^ ^ !
                                                       policy mither
                                             Ky ^ t ^ ! f j
    Hf haJ           aUIqijf'ion fo e'n5(/rc f'Lii'
                               i
                                                          inivjQfes
                                                                '


    hflve hof lA^^rr nn ft                           hylnr IjrP-^ckeJ
    Uis c}L/la;Sllof)'^ 3nJ i^J)< J(^//'/)f='r^le'ly 'inJifhrrnf f<^
         Ph/ntifF anJ pII ^itnijad^                        inmsfes^
    af)4                /
                            fathJ ^ /prrtviAei Md>M tA/iik hoi-

                                           3i.
      Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 13 of 19



ujoj^r cai/jinq irrtp^r^h/(=' ^n,)u^y to Phmfiff ^/U
0HSiMihrlj sifij<9%l ihiy)At<rf^ gs ^rscnke^ in
l?sr^yr'^jph /      2 ^haUP.
IS         vefcin<i2r>'f Okhharfifl Coutrb CnMT^ijjiof)erx
    h^J fir^l hi^nJ f-fimi^lpJcir af 'h^lar'r -fpih/r^ ta
    hi^r      Jsily hnf w;)fcr furneJ oh for inmsi-
    (/s^<je;
    ^   y  /
             pnJ on<::€'
             " ' 'f' w (ws..
                             ^Q;;!iin JirCCq^rAeJ
                                          ^^ ^
                                                  its
nhhj^tiofyc fa hAt/c hat eA/;:ii^r tf^sibt^J fo
Vf ffJapteJ                      pohc^ qf no-f' proviJiy hof ua^
to
'
                     Thf CaiAiAi.r^lonerr
                                      '
                                          hreachej Uneir oU/ctsfions,
                                                            J       *
Qfhi ^t/^r rle/iher^l^ inJiffcre/ii fo ik^ Ph/nffff 3/i4
f// TiM'ibriJ cih/^fcJ inn)f^frs ;QnJ \A/^illfryll^
fo h^i/r fnr hoi' lA/^^'f'er                         on     r:^(/rinQ
                      jn^iur^ fo fhp phihftff^ :9f rletfrni^eJ l/i
p:^(-^arPrhs / ;)AJ 0- ^ ficfl/<^.
16.       As ^ rJirecf ^nj iproximafe rrsaif of e^ck df'
fhr Defencj^/ts JehLe'r                   thdifference          sef
Pfysvf^^               prJ Pi! ,^/Milpfl^ 'fi'hjpi'e-J j(\(^3fes.
sufiereJ             Jcpnv^fbn oF Hjhff unJer cotor nf lai^
'f)nJ                      ta Tcz-fhr
                                '
                                      )rt-evf)r^yr
                                           /
                                                   injur/
                                                     i/ " ^
                                                            in -fl^f
                                                            '   '
form of pk/jiraI pfi'm ePch fin-e fhev 'hite C7/J
Slinu/<^ry- r!irm/nfo^ Lafh j>/>ysi'r9/ ^Drl /y)€'/ifl3 /
sc/fferinci^-       fkf> init-nfioM/ infllcf'ian nf
    ^Mntfon^/ Ji^rrrx ^h4 r^fnf^/ ^/i^c/i^ii-
C/aiAi 3
           1 The Kiaki That u/j)^ V/t^hfeJ ?
    No Cell /iqkts Since Apt,! // ;2j7/7 in \/i(7bfion of
                <J                   /       /   '



                                    /5.
T



           Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 14 of 19


               Hfh ^/)J l^fh                                                        fo       u^s-
    rohsfifuflon-

                2^' l tjt 77>e Def^fid^fftr NitMfr
    Oifhht^ma Cc^niy ramfnissianet^j
            P. P- J^lnr.
                                   s




                    3. LIif Tkf> Suopatfiha Pjirrfr
    i:ee Cahfin(/\af/o/)
                   *
                         on ^/r
                              _ S                               -J'
                                                                                PsrSQtjd^
                                                                                    ^  1
                                                                                          11-

                U-
                f       —^—"   '       ..
                                            Re^aCff^
                                             ". (^ ' •••-

    Conpe'ns^fary ^nJ Panifi^/C Jap^a^es- in Jtn am^ri/nf fo
    ibtf ^tov/^/) a't fti^J af fhis            lnjur\ c'f~i\//^
                        ^f^(°f~Qenc^^£o'^^ otJfrs                                              coMpeH
    fhr Prhndsnf/ff> //x pff crcl/                                                            ^,Vr»' "M/V
                    ^                  r^rH-ion r^rfifir^Tiot^^ AH?7rr)y^
    ro\f af-         jsnJ     fr/fhc^r r^Uef ih^
    Co(/l^'t'rleems Ausf snJ ptnpcn
           r                                                r    -in       rr   •



                                                                       /
                f




    r.           Cell Liakff ^ Fla/nfiff incol-patsies' hy
    ff4t='renc:f^ mr^jrAoks- I Hfnys/ak H ^bnvt».
    17'             On Ui)ri}^llf 7^(7; fk'c' reiM^PI^ktr in '.Pklflfiii's
    ccll u/ent auf^ anJ fke fi^Hs hfi\/r nof L<^<s'/7        >
    On i'liof          relk JU nrjf' hfti/r (A/corki/y Hjkff
    aryJ ,mM-/
           1 ^ More cel/s^ In^
                           fi^-r f h'^ikff fk^l'                                            ^ Y    ThrM^o(jf
                                                                                                    »r
    "fk^                /^a/iV cells Ja nof^ k):)(/C U/orkir^ ll^kiy-
    fdt 3hoikcr U/^V The PefenJsnif                                                      knus^iM

                                                    IH.
r




             Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 15 of 19


    in Cfllx u/rifvjfA                            (notiuyjtfer./4clc/j/'n^ Shou/t'lS.
    18         on/y h^k't                   cel/s^ Kthmtr^U
    SotnP ihick jl^r\ Uorkir^ uuhich p^rmfh Sof»e rli' /rt
    sun lijkf to eni^r                       r^ils. hac^ri/<rr       ffs- i/ery
        1.     ^                                   '             '           '
    Aim.
    IJ             Thf^ D^i^nAftfifs- haJ                kMM^leA^e af +h^
    cells hahfr not iA/orkim Yrm^'iveJ Phone C^i/s. ^/id
            ^                ^   w                         i
    let^r^^        lA/fth (^'Xhausthr) of -Hif^ ^/n//j/r^;?f7V/°
    qriei/^/)c:/° /ptocejufc-
    ^
    So.            On fke el^hf/j f/nrfr i.nmfi^srf 'U-tatrhof'
    iheif c^i/j for mch/hf fcA^o                              %r i-E ^nr/r-r.
    3-/      Tn orAer fo r(=>^J r^r h/rij^- iA/hile 'conhneJ in
     fi rF"// lAyii^nui' Sfynf^lxtna li'qhts. fhf> P1din'tiff'
                                       ' '         _i_ ^ '
        ^// s'/m^l^rly                       inmm(ps mr/^t ^fY^in ff^p}r
                   fo -ra°.'
    ;5^3..         Ai gll i)fo<^Tr relevppt io ihf> rf]rl:c^fIqkhr-r
    issu(°^ Def^nr^^nf T^ylot f^/As fhe J^z/jr policy t^aker^
    Hf                nhliq^feJ t<->
                           <-/
                                                       fh^ inmfife r^fk
     6<r«W y?7 hciOy(=' ipm:if=^ hp\r-f u/nthiflj h^ni^' Tylnr
    lorrf)rhf=J his oUig.^i%>ns^^ ;$n<l       ri^hhct-a'^ly
    irtrii'fferr^nf fo pj/tinfiif xinJ ^{/ Tf/Y)/l^rly '
    Sfifj^e^ jn/Tijfk^S^^ aotj uriiitx/(iy        fn ^fx>viJe'
    (ji/nrki^ (~c-i/ H^kfs cffus^)/^ irre'pstifhlf^ injury
    ib fh^ P/.Qihfiff jr ri(=>^<^rih^J i/l pf^Qtspk^ t
    ^nJQ^^knvf.
    23.                          O/fj^hnM^ Cnr/piy <r7-)/y)misf/a/7<3rT
                     fa In/ii/f ike Cell< liahf^ CGp^^ireJ,
           Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 16 of 19


    fhe c^h^i^is^it^ers        Tsybr's j^ohc^ nf housing
    Jh/Yi^S i(\ celff lA/rthui (Afati^ir^  r^hj hot^U/PVr.
    T/U/ hreecheJ Hy^r nhlM3fion<;                                   rie!ikern't'^lf
    InAi-fffrrnt io Pbfrfhn^                       A=rc-n tn-/
    f)hJ MillhU^ -^ileJ fa pto^iJe^ u/off^iny c^l/ /i^j^'h
    c^usIhq frr^parakle mdi/ry id Pisirtfiff anJ -
    ail                                      mms'kr^
    9^^-        As- a Jire^ anJ prcMiMsie resuhf of e^ck
    jf'/A(p D^fertAunts' rle/ihenrf?^ inJiifc-renc^^
    ibrff) sboK/e^ PIfiijftjffj f)nj q!/ SiMiht^ sifiJ/ftrJ
                 Juff^rej fhe J^ftlVQfiaO o-F^ n'^hir
    r/njt=>r rnint of hw^ flnJ-                                            -fo
    ScrfjrT ItTP^p^raU^ }n^i(/T^ //) fhe                                   of i:?r?i/?
%
    -FrhiY)          fk^ir ^rr "/e? X<^/
    ^pL/sirpI
      J '          ahJ me/)fi)l su-ffermq
                                     , _y ' ^/iJ fke //yfenfloh ^ I
    ['nfiirfion of                       dfsfrcff             mrnfai iin^uUL-
    rhit^ LL
                1. Tl)f=> RioLi" 'fAi^ 1^/P< v'lnlpi?=>r}P
    Jk-f rl^kf nrii' pi bp ^l7(/r^^/ ujlif) fhp°f^
    0<:\'in!)pJ in ^ cej! V^r/^/iiS-/ fr)r f^n mmafes                              if
    vjn/^i?^^             fifh                    /VM At^f=*f}rlpo/pnfs' iry fhe
    U» S. Ct7n<tiivi'ion.




                                        \L
     Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 17 of 19


                 Liyf TTip D f s ^
Ok15 Innm;^ Cnuntj Cnmm/j<^lon-f^r^ -
ijchn if//) (^/"rr/-
/"-/?. r^v/^r/

           3.    / /s/ r/^ St/mfk^rfino fprf^'
Sre Cr>n'i~ir\U':iffon thi^                                                     .
                                  /   ^         /     J *   f


           Lf.   Rf^lirf
Crjn^r) K::> jryf ^ ;?/rw Pr/n/i~i\/t^ J-o             in sn PMof/n~t fo
      prnve/) ^'h            frioJ oP 'f'h:5                    If^JcyncfJv-^
r^li(°f- Z=/>?i^/^^/)o/ (fRO^ orJ^rj m/inpt^/J/Aa
r^cfcnJ;^/)fs to €'li/^/r)Qi<p o\/ercroi^Jih(^ ^nJjor
fr;?AT^r ififinafes^ to {~j:i<rflffi(='r Hoi h^i/c remej^r
         to J^af lA/iik       n\j^rcro(A/4in<^ -
fA/V ff8^ ^riio/i a r/o<< r<F>rHffr^Hon ' Af-farney
fee^^'                 r77S"/^- P/^J :7/y                   fr/fe-f
 CnUf-j-                 juft^ On4 prope^r^
SffniOotfmQ                 rc^nfintje'J.
/).     Tr\pp)f^ r<rll/r\^' Pla'infiff f/icarpor
p^ihrf^nC*^ r?:?r::^rap/} ^ / Hinyfjy^ 12 ^
25         Fvf^rj jail <r^ll                        for t(^c f/)m':dh^ injsx
                   f
a f/iiVJ //)/>)5t>          f<^ fh-^ FInnr. Three
         fa J ccl! rrc^^(=^ a hnsj'ile &n\/irnnm^nY-
flif='tf=' /V liffif ronm -j'<^ Mnve^ ^rou/ki- Tjt /% ^
v<^ry                     e/)v/r^nAn^/d /A/iik                  of h^nsion^
                                  17.
           Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 18 of 19


    Uyhfrji rreot^ fn//ch \flaienr^.
    Q<€         nan-^ inmAih':                hp-tj o/? minnr nffpnsn^
                   for unpaU i
                                                 clftsfiahS' ,m^/iy                    1

                              !y jifjt'^io /)^// Lor>Jr Xc>A)<°
    oMt^r^.haraeJ u,ith hanj^ Sf=^' _& hfa!) tkey have
    fh set tn xtn Jihr^dy nyMr-rrjifuJe'J                                    u^hirl
    f/jp Dirfricf                                         r?f-firr Shae/U h-e
          fa rrr/^hP oc/T jn A        ri^ys in<:1?^J. of
    <pifnJlnj js^everft! Mnn^k< ^ff?imphi'nj fo rneroe-
    fhfi> inJi\/iJaiih f/i1b pie'^Jma ji/i/iy.
    a?.-        ThY== pnlfr(° Jn no-t }na[/e to 3tffli
    nffe-j^JerT( Zo'd'r^ police raolJ is's'ue cifs1~ions
    u/lf/n        Co(/rf              TJof' Taf/rfs raulJfsknuU -Sfft
    rc^iJoh'sUe hail bohJr fflrf /yfns^f                                   .iyr isJ-
    ^l/fisAirf'tODT ria. OiivinfyJy^ fkere sre oi^lflnnK
    fli/di/ifUp fo flir- DF-fe^Jpdx -ho clinlnsie' the J^iii's
    nw^rctou/ji'h^ .
    5.8, .^orihy tkf fiiAe fljat DeihrtJant Whffs^t (^/Jir
-




    t/(= <k(='i-iF'P ltfi> i4/^r oUi^ater! /?7 fIfrrtir>i}t^ J^i!
    m/rt-rmtA/Jit)^.               [,re'^rl)(='J !nir nhli^otir^nr ^hJ
    f>?/^r J(=lihe-r^irij snJiffi^re'/if' fn tkf Phinfiff ^nJ
            siMihr)^ siTu^kJ inmf^tes. Ukefref ujillfoll^
             fa                        the Jail's nMrfr.rntA/Jina c^mi/)^
    irrrpar»k/e                    to fhr Piaintiff~ ^/)4
    sifl/pfeJ iflm^ter^                  J^<ctihej                          phf /
    ifnJ 1' pf,r7i/e.
    &

                  Case 5:17-cv-01000-HE Document 1 Filed 09/15/17 Page 19 of 19


            0%         n^rinj             fintr Defef)Jar& Ta^lnr u/as ike Sheriff^
            U-f                  fa elim'in^f .}:f'ij nyfrr^rauJin^ • A/e
            l-ifftpc/pe/ his ol^lij^fionr dnJ /vj.r
             ir)Jiff<rr<f/)f fa P/^ mfifF ^r}4       i'lr^ihrkj ^ifc/sfej
            inr^sfe's^ as fl(?srrii^e-l        an^ \Arill-fvlj^ -kileJ id
            f'liminP'fc ,i<9il nU(^r<rrau/Jin<] cfn/sinq irri°p^)r^kl«=> inji/ry
            fo fhj'hfiff ai\4 all S'lfnijsrl^ sifuaih^ inmate- Qr
            Ai°s(zn LeJ in p^ra^^/jjl^S' i         ^
            3o.        ^         fiMCj rrlev^nf -hn iLt-.
            lSSlJ€^                       okli^lrtnma founiy Ct^mmi^'i^ioners
            /i/;5r nUijafeJ fa take rorrec:fi\/i^ ;:irf'ioh
            di'minQfr fhr^ pily (^{/C^rcratA^Jlnj. Tnsfej}J. ik^
            rot^tiM^sionprs aJn^rteJ triij^lf Cel/ina j)s sf;9firl^/r}
            jyolirK/. Ihe CoM/yii^sianenr lorr/^r/ie/ i^fir
            ;?/i7 i/t/^r Je'hlD<^rafel^ inlifferfnf fn F/omfiff^ anJ a!/
            r//vj//j?r/v situate inmsfe^^ as JiPS'cnh^J a^ove^
            c;9t/rinq
                    y,
                       irrt^p^callp
                            'In
                                     mji/ry as' JcS'crlbeJ in
                                    / ^
            pr^ia<jtppA< ! ^nd rk Qno\/f,
i           ^/.         A'i a Jirecf anJ i)rvxjim»'^ r-esulf of -eBch
            of fkp De&nJ^nh Jf^IiL^mfe- irJiff^erence^ ;?r s<^
            forfk                  fUitif/ff at\4 all ^jT^jlarl^ ^ ifi)Sf(^
            inm^'¥<^                       fke rjepr'fvafion of rio/jfr i/fvjGT
            COInr nf~ lat^^ ^/)J ufSS maj,^ fa u/fir^r irrep^r:)):>\e
            injuy in -hhe f&rr^ oF ^/i^x/ca/ !?/)J fmenia l
            Jts'n7/y)-krj'»       ^f/ffeTina; oYiJ fhe !njT^r^fio/ial
                           af emofansl rJisfre-ss- ^nJ tv^t^nfa!              aAaui^k.



        -     ——                   —-——          J
